Case 1:21-cv-06479-VSB Document 15-27 Filed 10/11/21 Page 1 of 6




                EXHIBIT 27
                      Case
                       Case21-32261
                            1:21-cv-06479-VSB
                                      Document 44-27 RP-2021-362583
                                               Document
                                                     Filed
                                                         15-27
                                                           in TXSB
                                                                Filed
                                                                    on10/11/21
                                                                       08/03/21 Page
                                                                                 Page22ofof66
                                                                                                             06/29/2021                       ER          $30.00




        UCC FINANCING STATEMENT AMENDMENT
        FOLLOW INSTRUCTIONS

        A NAME & PHONE OF CONTACT AT FILER (optional)
             Mark Patterson (214-295-8075)
        B. E-MAIL CONTACT AT FILER (optional)
              mpatterson@mwe.com
        C SEND ACKNOWLEDGMENT TO                        (Name and Address)


             1Mark L. Patterson, Esq.
              McDermott Will & Emery LLP
                                                                                                              7
              2501 North Harwood Street, Suite 1900
              Dallas, Texas 75201-1664
             L                                                                                                _J
                                                                                                                                    THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
        1a. INITIAL FINANCING STATEMENT FILE NUMBER                                                                  I1b [ZjTh1s FINANCING STATEMENT AMENDMENT is to be filed [for record)
                                                                                                                              (or recorded) 1n the REAL ESTATE RECORDS
        RP-2016-481296 RECORDED 10/25/2016                                                                                     Filer attac.h Amendment Addendum (Form UCC3Ad) and provide Debtor's name in item 13
        2    D TERMINATION· Effectiveness of the Financing Statement identified above is terminated with respect to the security interest(s) of Secured Party authorizing this Termination
                  Statement

        3.   [Z] ASSIGNMENT~r partial):            Provide name of Assignee in item 7a or 7b, fillQ address of Assignee in item 7c M..Q name of Assignor in item 9
                  For partial assignment, complete items 7 and 9 and also indicate affected collateral 1n item 8

        4.   0    CONTINUATION: Effectiveness of the Financing Statement identified above with respect to the security 1nterest{s} of Secured Party authorizing this Cont1nuat1on Statement 1s
                  continued for the add1t1onal period provided by applicable law

        5.   0    PARTY INFORMATION CHANGE:
             Check one of these two boxes                                         AND Check Q..Qe. of these three boxes to

             This Change affects    D Debtor D Secured Party of record
                                               QC                                        D ~eH:~:;r ~t~!n~ni1~~ ~~d~~~t a~~ri~~t~c D ~~~r~i~=~d~fe~~~e item D ~EbLeEJ:ie~:~~ 1t~;e6~~~ribname
        6. CURRENT RECORD INFORMATION: Complete for Party Information Change. provide only one name (6a or 6b)
C"')             6a. ORGANIZATION'S NAME
CX)
LO      OR 6b. INDIVIDUAL'S SURNAME                                                                   FIRST PERSONAL NAME                                    ADDITIONAL NAME(S)/INITIAL(S)               SUFFIX
N
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C"')    7     CHANGED OR ADDED INFORMATION· Complete for Assignment or Par.y Information Change - provide only one name (7a or 7b) (use exact full ,ame do not omit modify or abbreviate any part of the Debtor's name)
    I          7a ORGANIZATION'S NAME
~

N                WFCM 2016-LC25 WEST BAY AREA BOULEY ARD, LLC
        OR
                 7b INDIVIDUAL'S SURNAME
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                    INDIVIDUAL'S FIRST PERSONAL NAME
0....
0::::               INDIVIDUAL'S ADDITIONAL NAME(S)/INITIAL(S)                                                                                                                                            SUFFIX


        7c. MAILING ADDRESS                                                                                                                                  I STATE    I POSTAL CODE                     COUNTRY
                                                                                                     ICITY
            1601 Washington Avenue, Suite 700                                                          Miami Beach                                             FL        33139                            USA
        8.   •     COLLATERAL CHANGE· Also check one of these four boxes                   •    ADD collateral        •    DELETE collateral           D RESTATE covered collateral             •    ASSIGN collateral
                   Indicate collateral




         9. NAME OF SECURED PARTY OF RECORD AUTHORIZING THIS AMENDMENT: Provide only                                                Q[1§   name (9a or 9b) (name of Assignor, 1f this is an Assignment)
              If this 1s an Amendment authonzed by a DEBTOR, check here ~D=_•n_d_p_ro_v_1d_e_na_m_e_o_f_a_ut_ho_r_iz_in_g_D_eb_lo_r_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~
                 9a. ORGANIZATION'S NAME

                  WILMINGTON TRUST (See attached UCC3Ad for Complete Name)
            OR 9b. INDIVIDUAL'S SURNAME                                                               FIRST PERSONAL NAME                                     ADDITIONAL NAME(S)/INITIAL(S)               SUFFIX



            10. OPTIONAL FILER REFERENCE DATA:
             HARRIS COUNTY, TX - HOLIDAY INN WEBSTER - LOAN M300571612 - DEBTOR: KORNBLUTH TEXAS, LLC
                                                                                               International Association of Commercial Administrators (IACA)
        FILING OFFICE COPY -                 UCC FINANCING STATEMENT AMENDMENT (Form UCC3) (Rev 04/20/11)
                       Case
                        Case21-32261
                             1:21-cv-06479-VSB
                                       Document 44-27
                                                Document
                                                      Filed
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                                                            in TXSB
                                                                 Filed
                                                                     on10/11/21
                                                                        08/03/21 Page
                                                                                  Page33ofof66



        UCC FINANCING STATEMENT AMENDMENT ADDENDUM
        FOLLOW INSTRUCTIONS

        11 INITIAL FINANCING STATEMENT FILE NUMBER: Sameas,tem 1aonAmendmentform
         RP-2016-481296                     Recorded 10/25/2016
        12. NAME OF PARTY AUTHORIZING THIS AMENDMENT: Same as item 9 on Amendment form
             12a ORGANIZATION'S NAME
             WILMINGTON TRUST

             (See Attached Rider for Complete Name)
        OR
             12b INDIVIDUAL'S SURNAME


                 FIRST PERSONAL NAME


                  ADDITIONAL NAME(S)/INITIAL(S)                                                            ISUFFIX
                                                                                                                                  THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
                                                                                                                                                                                           only
        13 Name of DEBTOR on related financing statement {Name of a current Debtor of record required for 1ndex1ng purposes only in some filing offices - see Instruction item 13) Provide
             one Debtor name (13a or 13b) (use exact, full name do not omit, modify, or abbreviate any part of the Debtor's name): see Instructions 1f name does not fit

             13a ORGANIZATION'S NAME

              KORNBLUTH TEXAS, LLC
        OR 13b. INDIVIDUAL'S SURNAME                                                           FIRST PERSONAL NAME                                 ADDITIONAL NAME(S)IINITIAL(S)   SUFFIX



        14 ADDITIONAL SPACE FOR ITEM B (Collaterali




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         15. This FINANCING STATEMENT AMENDMENT.                                                                17. Description of real estate

                  covers timber to be cut   D covers as-extracted collateral
                                                                          [Z] is filed as a fixture f1l1ng SEE EXHIBIT A TO THE RIDER TO UCC
         16. Name and address of a RECORD OWNER of real estate described 1n item 17                        FINANCING STATEME'.'!T AMEND:VIENT AND UCC
             (if Debtor does not have a record interest)
                                                                                                           FINANCING STATEMENT AMENDMENT
                                                                                                           ADDENDUM ATT ACHED HERETO.
         DEBTOR IS RECORD OW'.'!ER.
                                                                                                                  PROPERTY ADDRESS: 302 WEST BAY AREA
                                                                                                                  BOULEVARD, WEETER, TEXAS 77598




          18. MISCELLANEOUS:
             HARRIS COUNTY, TX - HOLIDAY INN WEBSTER - LOAN M300571612 - DEBTOR: KORNBLUTH TEXAS, LLC
                                                                                                                             International Association of Commercial Administrators (IACA)
         FILING OFFICE COPY- UCC FINANCING STATEMENT AMENDMENT ADDENDUM (Form UCC3Ad) (Rev 04/20/11)
            Case
             Case21-32261
                  1:21-cv-06479-VSB
                            Document 44-27
                                     Document
                                           Filed
                                               15-27
                                                 in TXSB
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                                                          on10/11/21
                                                             08/03/21 Page
                                                                       Page44ofof66




                                         RIDER TO

                       UCC FINANCING STATEMENT AMENDMENT

                                           AND

                 UCC FINANCING STATEMENT AMENDMENT ADDENDUM


        FOR PURPOSES OF AMENDMENT ITEM 3, THIS IS A FULL ASSIGNMENT


        THE COMPLETE NAME OF THE SECURED PARTY OF RECORD AUTHORIZING THIS
        AMENDMENT FOR AMENDMENT ITEM 9a., AND THE COMPLETE NAME OF THE
        PARTY AUTHORIZING THIS AMENDMENT FOR AMENDMENT ADDENDUM ITEM
        12a., IS:

        WILMINGTON TRUST, NATIONAL ASSOCIATION, AS TRUSTEE FOR THE
        BENEFIT OF THE REGISTERED HOLDERS OF WELLS FARGO COMMERCIAL
C"')    MORTGAGE TRUST 2016-LC25, COMMERCIAL MORTGAGE PASS-THROUGH
CX)
        CERTIFICATES, SERIES 2016-LC25
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        DEBTOR'S JURISDICTION OF ORGANIZATION: TEXAS
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0....   LOCATION OF COLLATERAL: SEE ATTACHED EXHIBIT A- LEGAL DESCRIPTION
0::::
           Case
            Case21-32261
                 1:21-cv-06479-VSB
                           Document 44-27
                                    Document
                                          Filed
                                              15-27
                                                in TXSB
                                                     Filed
                                                         on10/11/21
                                                            08/03/21 Page
                                                                      Page55ofof66




                                                EXHIBIT A

                                         LEGAL DESCRIPT ION


        Fee Parcel

        Tract I:

        Unrestricted Reserve "C", Block I, of One Bay Area Plaza, Harris County, Texas recorded under
        Film Code Number 612277 of the Map Records of Harris County, Texas: and

        Easement:

        TOGETHER WITH casement described in Easement Agreement, dated December 21, 2006,
        executed by and between Bay Area 4.5, Ltd., and Webster Hotel, LLC., as set forth in
        instrument(s) recorded at Harris County Clerk's File No. 20060296799 corrected by
        20080242828 of the Real Property Records of Harris County, Texas. As shown and noted on
        survey prepared by Prime Texas Surveys, dated September 30, 2016; Job No. 16 I I 90.

        TOGETHER WITH easement described in Easement Agreement, dated dated December 6, 2007,
        executed by and between Bay Area 4.5, Ltd., and Webster Hotel, LLC., as set forth in instrument
C"')
CX)     recorded at Harris County Clerk's File No. 20070727577 of the Real Property Records of Harris
LO      County, Texas and ratified by Narendra Maran, as set forth in Ratification of Plat and Easement
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        Agreement recorded under Clerk's File No. 20080242827 of the Real Property Records of Harris
C"')    County, Texas. As shown and noted on survey prepared by Prime Texas Surveys, dated
    I
~
        September 30, 2016; Job No. 16 I I 90.
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        Case
         Case21-32261
              1:21-cv-06479-VSB
                        Document 44-27
                                 Document
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                                                      on10/11/21
                                                         08/03/21 Page
                                                                   Page66ofof66




                  RP-2021-362583
                  # Pages 5
                  06/29/2021 08:32 AM
                  e-Filed   &   e-Recorded in the
                  Official Public Records of
                  HARRIS COUNTY
                  TENESHIA HUDSPETH
                  COUNTY CLERK
                  Fees   $30.00




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0....             RECORDERS MEMORANDUM
0::::             This instrument was received and recorded electronically
                  and any blackouts, additions or changes were present
                  at the time the instrument was filed and recorded.




                  Any provision herein which restricts the sale, rental, or
                  use of the described real property because of color or
                  race is invalid and unenforceable under federal law.
                  THE STATE OF TEXAS
                  COUNTY OF HARRIS
                  I hereby certify that this instrument was FILED in
                  File Number Sequence on the date and at the time stamped
                  hereon by me; and was duly RECORDED in the Official
                  Public Records of Real Property of Harris County, Texas.



                                      COUNTY CLERK
                                      HARRIS COUNTY, TEXAS
